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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

UNITED STATES OF AMERICA,                     '
                                              '
                                              '
             v.                               ' Criminal Action No: 4:24-cr-00298
                                              '
EITHAN DAVID HAIM                             '


  UNITED STATES’ UNOPPOSED APPLICATION FOR PROTECTIVE
                         ORDER

TO THE HONORABLE COURT:

      The United States, by and through its unsigned attorney, files this Application

for a protective order governing discovery in the above-referenced case pursuant to

Federal Rules of Criminal Procedure 16(d). Some of the discovery in this case

contains personal health and identifying information of individuals who are not

parties to the case and references to witnesses and unindicted individuals or entities

(“Sensitive Discovery”). The United States has provided copies of discovery,

including unredacted Sensitive Discovery. The United States seeks to protect the

confidentiality of this information. Accordingly, the United States asks the Court to

order the Defendant and his attorneys to limit their disclosure of discovery,

especially unredacted Sensitive Discovery.




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   I.       Background

         On May 29, 2024, a grand jury in the Southern District of Texas indicted the defendant

with four counts of violating the criminal provisions of the Health Insurance Portability and

Accountability Act (“HIPAA”). Trial is scheduled for October 21, 2024.

   II.      Authority and Argument for a protective order

         This Court possesses the express authority to enter protective orders to handle

all matters of a private or sensitive nature. Fed. R. Crim. P. 16(d) (discovery

protective orders), 49.1(e) (protective orders concerning matters of privacy and

personal information). Specifically, Rule 16(d)(1) permits courts “for good cause”

to enter protective orders that “deny, restrict, or defer discovery or inspection, or

grant other appropriate relief.” Indeed, “the trial court can and should, where

appropriate, place a Defendants and his counsel under enforceable orders against

unwarranted disclosure of the materials which they may be entitled to inspect.”

Alderman v. United States, 394 U.S. 165, 185 (1969) (citing Fed. R. Crim. Proc.

16(e)); see also United States v. Yassine, 574 F. App’x 455, 461 (5th Cir. 2014)

(same). Once the government establishes good cause, the burden shifts to the

Defendant to establish that the protective order would cause prejudice. Yassine, 574

F. App’x at 461.

         “The use of protective orders to prevent disclosure of private medical

information is [] clearly established.” United States v. Carriles, 654 F. Supp. 2d


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557, 568 (W.D. Tex. 2009) (citations omitted).           The personal and medical

information at issue in this case includes the type given special protection, including

by HIPAA and Federal Rule of Criminal Procedure 49.1, such as dates of birth,

social security numbers, and addresses.

        Because the discovery in this case contains confidential and sensitive

information, the United States proposes the following restrictions on disclosure and

handling of discovery, including unredacted Sensitive Discovery, which it believes

constitute the least restrictive measures available to protect the various interests

involved in this case, including the Defendant’s interest in full and efficient

discovery:

   1.     Without the consent of the United States or approval from the Court, the

          discovery and information therein may only be used in connection with the

          litigation of this case and for no other purpose.

   2.     Without authorization of the Court, the discovery, including Sensitive

          Discovery, made available by the United States to the Defendant and his

          attorneys of record is not to be disclosed or disseminated to anyone other

          than the named Defendant; Defendant’s attorneys of record; and members

          of the defense team, including defense investigators, paralegals, expert

          witnesses, and other individuals necessary for assisting defense in the

          preparation and trial of this matter (collectively, “the Defense Team”).


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3.   The Defendant will be permitted to view Sensitive Discovery only in the

     presence of his attorneys of record, defense investigators, or the staff of his

     attorneys. Copies of Sensitive Discovery shall not be disseminated to, or

     by, the Defendant. The Defendant shall not be permitted to keep or take

     with Defendant Sensitive Discovery, including copies and notes of such

     materials.

4.   Prior to providing discovery to a member of the Defense Team, defense

     counsel is required to provide a copy of this Protective Order to the

     Defense Team member receiving discovery and obtain written

     acknowledgement that the Defense Team member is bound by the terms

     and conditions of this Protective Order. The written consent need not be

     disclosed or produced to the United States unless ordered by the Court.

5.   In the event the Defendant seeks to use or attach the discovery material in

     any court filing, at trial, or in another hearing in this matter, any filings

     shall comply with Rule 49.1 of the Federal Rules of Criminal Procedure

     and the electronic filing policies and procedures of the United States

     District Court for the Southern District of Texas.

6.   At the close of this case, defense counsel shall return the Sensitive

     Discovery to the U.S. Attorney’s Office, Southern District of Texas,

     Houston Division, or otherwise certify that the material has been


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     destroyed.

7.   Any person who willfully violates this order may be held in contempt of

     court and may be subject to monetary or other sanctions as deemed

     appropriate by this Court.

8.   The protective order does not limit employees of the United States

     Attorney’s Office from disclosing the discovery to members of the United

     States Attorney’s Office, the Department of Justice, enforcement agencies,

     and to the Court and defense, as necessary to comply with the

     government’s discovery obligations.




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   III.   Conclusion

      To protect personal and sensitive information, the United States respectfully

requests that the Court enter a protective order limiting the disclosure of discovery

materials as described in this Application and the proposed order attached to this

motion.

                                             Respectfully submitted,

                                             ALAMDAR S. HAMDANI
                                             United States Attorney


                                       By:   /s/ Jessica Feinstein
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                        CERTIFICATE OF SERVICE

      I hereby certify that on September 24, 2024 a true and correct copy of the

foregoing pleading was served on the Defendants’ counsel of record via the Court’s

Electronic Case File system.

                                            /s/ Jessica Feinstein
                                            Jessica Feinstein
                                            Assistant U.S. Attorney


                     CERTIFICATE OF CONFERENCE

      On September 24, 2024 the United States conferred with counsel for the

Defendant. Counsel for the Defendant does not object to the protective order.

                                            /s/ Jessica Feinstein
                                            Jessica Feinstein
                                            Assistant U.S. Attorney




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